                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


ESTATE OF ANTONIO GONZALES,
          Plaintiff,

      v.                                              Case No. 21-cv-0848

JOSEPH ANTHONY MENSAH, et al.,
         Defendant.


ESTATE OF JAY ANDERSON, JR., et al.,
          Plaintiff,

      v.                                              Case No. 21-cv-1179

JOSEPH ANTHONY MENSAH, et al.,
           Defendant.
______________________________________________________________________

ESTATE OF ALVIN COLE, et al.,
          Plaintiff,

      v.                                              Case No. 22-cv-0856

JOSEPH ANTHONY MENSAH, et al.,
           Defendant.
______________________________________________________________________

                               DECISION AND ORDER

      Plaintiffs in these consolidated cases are the estates and relatives of individuals

who were fatally shot by defendant Joseph Mensah, a former Wauwatosa police officer.

Plaintiffs bring claims under 42 U.S.C. § 1983 against Mensah, former Wauwatosa police

chief Barry Weber, the City of Wauwatosa, and the Cities and Villages Mutual Insurance

Company (“CVMIC”). Before me now are several motions. These consolidated cases

arise out of three separate on-duty shootings by Mensah: the July 16, 2015, shooting of




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Antonio Gonzales, the June 23, 2016, shooting of Jay Anderson, Jr., and the February 2,

2020, shooting of Alvin Cole.

                                      I. GONZALES

       On July 16, 2015, Mensah responded to a call about an intoxicated individual,

Antonio Gonzales, who had threatened his roommate. When Mensah arrived, Gonzales

exited the residence holding a large, decorative sword. Mensah ordered Gonzales to drop

the sword. Gonzales moved towards Mensah, and Mensah issued Gonzales a final

warning to “stop or I will shoot you.” Gonzales waved the sword and continued to advance.

When Gonzales came within 10 feet, Mensah fired two rounds at Gonzales, who later

died from his injuries. Defendants move for summary judgment as to the claims alleged

by the Estate of Antonio Gonzales. Plaintiffs concede that defendants are entitled to

summary judgment. ECF No. 110. I will therefore grant defendants’ motion.

                                     II. ANDERSON

       In the early morning hours of June 23, 2016, Mensah, while working the late shift

as a patrol officer in uniform, entered Madison Park and observed a single vehicle in the

parking lot. ECF No. 79, ¶ 17. Inside the vehicle was an individual, later identified as Jay

Anderson Jr., who appeared to be asleep. Id., ¶ 19. Mensah called dispatch to alert them

to an occupied vehicle in the park. ECF No. 92, ¶ 4. Mensah parked his squad car in front

of the vehicle and turned on his bright illumination lights which allowed him to see inside

the vehicle. ECF No. 79, ¶ 18. Mensah approached the vehicle from the passenger side

and knocked on the passenger side window to wake Anderson up, identified himself as

police, and asked Anderson to roll the passenger side window down. Id., ¶¶ 26, 28; ECF

No. 92, ¶ 8. Anderson woke up and rolled down the passenger window. ECF No. 79, ¶

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28; ECF No. 92, ¶ 8. Mensah observed a gun and other belongings on the front passenger

seat. ECF No. 79, ¶ 33; ECF No. 92, ¶ 11. When Mensah saw the gun he stepped back,

radioed dispatch that Anderson had a gun and requested additional assistance. ECF No.

79, ¶¶ 34–35; ECF No. 92, ¶ 18. Mensah unholstered his service weapon and told

Anderson not to reach for the gun. ECF No. 79, ¶ 38; ECF No. 92, ¶ 14.

      The parties dispute exactly what occurred in the seconds leading up to the

shooting. Defendants contend that Anderson extended his right arm toward the front

passenger seat several times and, in response, Mensah pointed his gun at Anderson and

“forcefully” ordered him to not reach for the gun. ECF No. 79, ¶¶ 40, 42–43. Plaintiffs

argue that there is no evidence that Anderson reached for the gun. Plaintiffs note that

Anderson’s cell phone was also in the front seat and that the vehicle’s registration was in

the glove compartment. ECF No. 92, ¶¶ 11, 13, 90. Plaintiffs also contend that Anderson

struggled to keep his hands up as instructed because he was tired and intoxicated. Id., ¶

98. Defendants contend, and plaintiffs dispute, that just before the shooting, Anderson

“lunged” “his whole body” towards the gun on the seat, resulting in Mensah’s belief that

Anderson was reaching for the firearm. ECF No. 79, ¶¶ 44–45. Mensah immediately

discharged his firearm six times as he disengaged, walking backwards. Id., ¶ 46; ECF

No. 92, ¶ 19. Mensah then contacted dispatch to alert them that shots had been fired.

ECF No. 79, ¶ 47; ECF No. 92, ¶ 21.




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      Both parties provided the court with footage of the shooting captured by the

camera in Mensah’s squad car. The footage 1 begins at 03:06:55 A.M., depicting Mensah

with his service weapon raised at the front passenger window of Anderson’s vehicle.

Anderson’s hands are raised above his head. At 03:07:13 A.M., Anderson’s right hand

dips toward the seat and rises back up again. Two seconds later, at 03:07:15 A.M.,

Anderson’s right hand again dips toward the seat. In response, Mensah discharges his

weapon six times while backing away from the vehicle.

      Approximately three minutes after the shooting, Wauwatosa Police Officers Ralph

Salyers and Stephen Mills arrived on scene. ECF No. 79, ¶ 54. Both Salyers and Mills

testified that they observed the gun on the passenger seat of the vehicle. Id., ¶ 56. Mills

retrieved the gun from the passenger seat of the vehicle, and Anderson’s body was

removed from the vehicle. Id., ¶¶ 59–60; ECF No. 92, ¶ 32.

      During the course of discovery, motion practice, and consolidation of the various

claims against Mensah, defendants did not timely file answers to the amended complaints

in the Anderson and Cole cases. Defendants have since moved for an extension of time

to file answers and have attached their proposed answers to the motion. Rule 6(b) of the

Federal Rules of Civil Procedure gives district courts discretion to grant extensions when

deadlines are missed because of excusable neglect. See Fed. R. Civ. P. 6(b)(1)(B)

(“When an act may or must be done within a specified time, the court may, for good cause,



1 The footage includes no audio until 03:07:23 A.M. Wauwatosa Police Officers at the

time were outfitted with a device that allowed them to remotely activate the dash camera
in their squad vehicles. Upon activation, recording equipment on the squad car's dash
camera recovered and preserved the 30 seconds of video recorded prior to activation and
began recording audio. See ECF No. 79, ¶ 49; ECF No. 92, ¶ 25.
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extend the time ... on motion made after the time has expired if the party failed to act

because of excusable neglect.”). The Supreme Court in Pioneer Investment Services Co.

v. Brunswick Associates Limited Partnership enumerated the factors a district court

should consider when evaluating a claim of excusable neglect. 507 U.S. 380, 385 (1993).

The Court explained that “the determination is at bottom an equitable one, taking account

of all relevant circumstances surrounding the party's omission.” Id. Specifically, a court

should consider the danger of prejudice to the nonmovant, the length of the delay and its

potential impact on judicial proceedings, the reason for the delay, and whether the movant

acted in good faith. Id. District courts “enjoy wide latitude” in determining whether a

litigant’s explanation for missing a deadline amounts to excusable neglect. Jones v.

Bayler, No. 22-1296, 2023 WL 3646069, at *2 (7th Cir. May 25, 2023), cert. denied, 144

S. Ct. 387 (2023); Nartey v. Franciscan Health Hosp., 2 F.4th 1020, 1024 (7th Cir. 2021).

       Considering these factors, I find that defendants’ tardiness is excusable neglect.

Defendants filed their motion for extension of time four months after the answers were

due but only three days after they learned of the omission. The delay will not delay the

case. Defendants acted in good faith as demonstrated by their attempt to rectify the

omission as soon as it came to light. Most importantly, I find no prejudice to the

nonmovant. Plaintiffs do not argue that they have suffered any prejudice. Nor is there any

danger of prejudice. Plaintiffs knew that defendants disputed their factual allegations. The

parties were engaged in discovery regarding such disputes at the time. I will therefore

grant defendants’ motion for extension of time to file answers to the amended complaints

in Anderson and Cole.



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       I turn now to defendants’ motion for summary judgement in Anderson. Summary

judgment is required where “there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “Material facts”

are those under the applicable substantive law that “might affect the outcome of the suit.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute over “material fact”

is “genuine” if “the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Id. I view the evidence in the light most favorable to the nonmoving

party and must grant the motion if no reasonable juror could find for that party. Id. at 248,

255.

       Although on summary judgment I view the facts in the light most favorable to the

nonmovant, in the rare circumstances when video footage clearly contradicts the

nonmovant's claims, I may consider that video footage without favoring the nonmovant.

Horton v. Pobjecky, 883 F.3d 941, 944 (7th Cir. 2018) (citing Scott v. Harris, 550 U.S.

372, 378–81 (2007)). Videos are sometimes unclear, incomplete, and may fairly be open

to varying interpretations. Id. However, when video footage firmly settles a factual issue,

there is no genuine dispute of material fact precluding summary judgment. Id. When “the

person most likely to rebut the officers’ version of events—the one killed—can't testify,”

to ensure fairness to a deceased plaintiff whose representative alleges an impermissible

use of deadly force, given the impossibility of victim testimony to rebut the officers’

account, I must “scrutinize all the evidence to determine whether the officers’ story is

consistent with other known facts.” King v. Hendricks City Commissioners, 954 F. 3d 981,

985 (7th Cir. 2020). (internal citations omitted).



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       Plaintiffs allege that Mensah used excessive force when he shot Anderson. A claim

that police officers have used excessive force is “analyzed under the Fourth Amendment

and its ‘reasonableness’ standard.” Graham v. Connor, 490 U.S. 386, 395 (1989). In

considering whether use of force was reasonable, I assess the totality of the facts and

circumstances, including consideration of “the severity of the crime at issue, whether the

suspect poses an immediate threat to the safety of the officers or others, and whether he

is actively resisting arrest or attempting to evade arrest by flight.” Strand v. Minchuk, 910

F.3d at 914–15 (quoting Graham, 490 U.S. at 396).

       Where an officer uses deadly force, the officer must have “probable cause to

believe that the suspect poses a significant threat of death or serious physical injury to

the officer or others.” Tennessee v. Garner, 471 U.S. 1, 3 (1985). The proper inquiry is

one of “objective” reasonableness without regard to the subjective “intent or motivation”

of the officer. Strand, 910 F.3d 909, 915–16 (citing Graham, 490 U.S. at 397). This inquiry

is highly fact-intensive and involves “careful balancing of the nature and quality of the

intrusion on the individual's Fourth Amendment interests against the countervailing

governmental interests at stake.” Graham, 490 U.S. at 396. In determining

“reasonableness” I must take into consideration the fact that police officers are often

forced to make split-second judgments in tense and rapidly evolving circumstances.

Strand, 910 F.3d at 916. The objective reasonableness of an officer's actions must be

“judged from the perspective of a reasonable officer on the scene, rather than with the

20/20 vision of hindsight.” Graham, 490 U.S. at 396. What matters in determining whether

the officer used an appropriate level of force is the amount and quality of the information

known to the officer at the time he fired the weapon. Horton, 883 F.3d at 950.

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       Based on the circumstances surrounding the shooting, I find that Mensah’s

response was not objectively unreasonable and thus did not violate Anderson's Fourth

Amendment rights. Mensah observed a weapon in Anderson’s front passenger. Prior to

the shooting, Mensah radioed dispatch to inform the other officers about the gun. Officer

Salyers and Officer Mills both testified that they observed the gun in the front passenger

seat. The squad car footage shows Officer Mills removing the weapon from the front seat.

Mensah testified that he ordered Anderson not to reach for the gun and to keep his hands

up. It also shows that in the seconds leading up to the shooting, Anderson reached his

right hand towards the seat where the weapon was located.

       An officer who shoots a suspect when the suspect is reaching for his firearm

exhibits a response that is “objectively reasonable,” and thus cannot be found to have

violated that suspect's Fourth Amendment rights. Helman v. Duhaime, 742 F.3d 760, 763

(7th Cir. 2014). Deadly force is reasonable “where an officer has reasonable cause to

believe that the suspect poses a danger of serious bodily harm, such as when the officer

believes the suspect has a weapon.” Henning v. O'Leary, 477 F.3d 492, 496 (7th Cir.

2007) (citing Garner, 471 U.S. at 11) (holding that an officer had reasonable cause to use

deadly force in a struggle for a loose gun where suspect “had his hands on or near” the

weapon); see also Conley-Eaglebear v. Miller, No. 16-3065, 2017 WL 7116973, at *2 (7th

Cir. Sept. 26, 2017) (noting that an officer need not wait for a suspect “to face him or point

the gun directly at him before acting to protect himself”). Under the circumstances,

Mensah’s belief that Anderson posed an immediate threat to his safety was not

unreasonable.



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      Plaintiffs contend that there is no evidence that Anderson reached for the gun, that

he could have been reaching for his cell phone, which was also located on the front

passenger seat, or for the vehicle’s registration in the glove compartment. But the proper

inquiry is whether Mensah’s actions were reasonable based on the information he knew

at the time he fired his weapon. Mensah could not have known whether Anderson was

reaching for the weapon or for something else. The phone was located on the seat next

to the gun, and one would need to reach over the seat where the gun was located to

reach the glove compartment. Plaintiffs also argue there is no evidence that the gun was

loaded. But again, the reasonableness inquiry focuses on the information Mensah had at

the time. Mensah could not have known whether the gun was loaded or not. Finally,

plaintiffs argue there is a factual dispute as to whether Anderson even reached towards

passenger seat. However, they acknowledge that Anderson lowered his arm possibly as

a result of being too tired or intoxicated. The footage confirms that Anderson lowered his

right hand in the direction of the passenger seat. Once again, Mensah could have

reasonably believed that Anderson was reaching for his gun. Thus, defendants are

entitled to summary judgment on Anderson’s excessive force claim.

      Defendants also move for summary judgment on the claims against police chief

Weber, Mensah’s superior, against the City of Wauwatosa, based on failure to train, and

on Anderson’s minor daughter J.A.’s claim for loss of society and companionship. I will

grant these motions because these claims necessarily fail if the excessive force claim

against Mensah fails. I will also grant summary judgment to defendants on the estate’s

equal protection claim. I will also grant summary judgment on the equal protection claim.

To state an equal protection claim, plaintiffs must prove that the defendants’ actions had

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a discriminatory effect and were motivated by a discriminatory intent or purpose. Chavez

v. Illinois State Police, 251 F.3d 612, 635–36 (7th Cir. 2001). There is no evidence in the

record of any discriminatory effect or purpose.

                                        III. COLE

      On February 2, 2020, Wauwatosa police were dispatched to Mayfair Mall to

investigate an alleged disturbance. Witnesses to the disturbance identified a group of

minors, including a young African American male in a light grey hoodie, later identified as

Alvin Cole. An officer encountered the group whose members fled. The police pursued

the group on foot, and a gun was fired. Ten seconds later, Mensah shot Cole five times.

The parties dispute what occurred in the moments before the shooting. Defendants assert

that Cole had a gun in his hands when Mensah shot him, but the officers offer conflicting

testimony as to the position of Cole’s body at the time of the shooting and as to where

the gun was pointed. In their brief, plaintiffs assert that witnesses observed Cole without

a gun but do not present supporting evidence. The footage of the shooting from a squad

car does not clearly indicate what occurred.

      Defendants move for summary judgment on all claims alleged by the Estate of

Alvin Cole. I find that oral argument might be helpful on whether there are issues of

material fact. Accordingly, I will hold argument on the motion on April 9, 2024, at 11:00

A.M. Each side will be allotted twenty (20) minutes.

                                   IV. CONCLUSION

      For the reasons stated, IT IS ORDERED that defendants’ motion for summary

judgment in Gonzales (ECF No. 69) is GRANTED.



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       IT IS FURTHER ORDERED that defendants’ amended motion for extension of

time to file answers to the amended complaint in case number 21-CV-1179 and the

amended complaint in case number 22-CV-0856 (ECF No. 108) is GRANTED.

       IT IS FURTHER ORDERED that defendants’ motion for summary judgment in

Anderson (ECF No. 78) is GRANTED.

       IT IS FURTHER ORDERED that plaintiffs’ motion for oral argument (ECF No. 98)

is GRANTED IN PART. Oral argument on defendants’ motion for summary judgment in

Cole is scheduled for April 9, 2024, at 11:00 A.M. in Courtroom 390, 517 E Wisconsin

Ave., Milwaukee, WI 53202.

       IT IS FURTHER ORDERED that plaintiffs’ motions to file sur-reply briefs (ECF

Nos. 119, 121) are GRANTED.

       IT IS FURTHER ORDERED that defendants’ first motion for extension of time to

file answer (ECF No. 100), plaintiffs’ motion to strike defendants’ first motion for extension

of time (ECF No. 104), and plaintiffs’ motion to strike defendants’ motion for protective

order (ECF No. 59) are DENIED AS MOOT.

       Dated at Milwaukee, Wisconsin, this 14th day of March, 2024.


                                                  /s/ Lynn Adelman___
                                                  LYNN ADELMAN
                                                  United States District Judge




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